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 WAYNE GREENWALD, P.C.
 Attorneys for Respondent
 Summa Capital Corp.,
 475 Park Avenue South - 26th Floor
 New York, NY 10016
 Wayne M. Greenwald

 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 -----------------------------------------------------------------x
 In re
                                                                        Bankr Case No
        BOAZ BAGBAG,                                                    08-12667 (MEW)
                          Debtor
 ___________________________________________x
 BOAZ BAGBAG,

                        Petitioner,                           State Court Index No,
 -against-                                                    151048/2019

 SUMMA CAPITAL CORP.,


                        Respondent.
 -------------------------------------------------------------------x

           NOTICE OF REMOVAL OF STATE COURT ACTION
          TO UNITED STATES DISTRICT COURT, PURSUANT TO
              28 U.S.C. § 1452 AND FED.R.BANKR.P. 9027(a)
                                      ‘
        Summa Capital Corp. (“Summa”) a creditor of the above-named Debtor (the

 “Debtor”), by and through its attorneys, Wayne Greenwald, P.C., represents:

 1.     Summa hereby gives notice and removes to the United States District Court,

        for the Southern District of New York, under 28 U.S.C. § 1452 and

        Fed.R.Bankr.P. 9027(a), the civil action styled Boaz Bagbag, Petitioner -
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       against- Summa Capital Corp. Respondent pending in the Supreme Court

       of the State of New York, New York County, Index No.151048/2019 (the

       “State Court Action”).

 2.    Summa anticipates this action being referred to United States Bankruptcy

       Court for the Southern District of New York, where the Debtor’s

       bankruptcy case is pending. See, 28 U.S.C. § 157(a).



 Basis of Jurisdiction

 3.    On July 10, 2008, the Debtor, Boaz Bagbag, filed a voluntary petition for

       relief under Chapter 7 of Title 11, United States Code (“Bankruptcy Code”)

       with the United States Bankruptcy Court, Southern District of New York,

       case numbered 08-12667 (the “Case”).

 4.    Alan Nisselson was appointed chapter 7 trustee and qualified as such.

 5.    On June 9, 2010, the Debtor entered into stipulation which rendered

       Summa‘s claim against the Debtor, non-dischargeable, pursuant to 11

       U.S.C. 523(a). That stipulation was so-ordered by Bankruptcy Judge

       Gonzalez. See ECF # 103.

 6.    On June 10, 2010, the Summa was granted a money judgment again the

       Debtor for $1,212,062.40 (the “Judgment”).

 7.    That Judgment was entered by Bankruptcy Judge Arthur Gonzalez. See ECF
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       # 104.

 8.    On February 4, 2013, the Case was closed.

 9.    Through an order, dated June 6, 2018, the Case was reopened on the

       Debtor’s motion. ECF # 158.

 10.   The Case is open now.

 11.   Summa is enforcing the Judgment.



 The Removed Proceeding

 12.   On February 5, 2018, the Debtor filed the State Court Action.

 13.   The State Court action seeks to interfere with and prevent Summa from

       enforcing its Judgment against the Debtor.

 14.   The Debtor’s Petition and Order to Show cause initiating the State Court

       Action are annexed hereto as Exhibit “A.”

 15.   Summa’s time to respond to the State Court Action is not until March 20,

       2018.

 16.   However, until then, the State Court’s order to show cause improperly1

       enjoins Summa from enforcing its Judgment.


       1
        See, BGW Assocs., Inc. v. Valley Broad. Co., 532 F. Supp. 1115, 1116
 (S.D.N.Y. 1982), citing Donovan v. City of Dallas, 377 U.S. 408, 412-13, 84 S.Ct.
 1579, 1582, 12 L.Ed.2d 409 (1964) (Restraining federal court judgment’s
 enforcement as beyond state court’s jurisdiction.)
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 17.   The State Court Action relates to and concerns the Judgment entered by the

       Bankruptcy Court and enforcement proceedings initiated out of the

       Bankruptcy Court.

 18.   This Court and the Bankruptcy Court have jurisdiction over this matter,

       pursuant to 28 U.S.C. §§ 157 and 1334. See also, In re Reedy, 247 B.R. 742

       (Bankr. E.D. TN 1999)(Bankruptcy Court has jurisdiction to enforce non-

       dischargeable money judgment).

 19.   The State Court Action is an action which may be removed pursuant to 28

       U.S.C. § 1452.

 20.   The State Court Action lacks subject matter jurisdiction over the Judgment.

       See fn.1.

 21.   Upon removal of the State Court Action, the matter will be a core

       proceeding, under 28 U.S.C. §§ 157(b)(O).

 22.   This Notice of Removal is timely filed under Fed.R.Bankr.P. 9027(a)(2).

 Dated: New York, NY
        February 11, 2019
                                             WAYNE GREENWALD, P.C.
                                             Attorneys for Respondent
                                             Summa Capital Corp.,
                                             475 Park Avenue South - 26th Floor
                                             New York, NY 10016

                                             By: /s/ Wayne M. Greenwald Pres.
                                                    Wayne M. Greenwald
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